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        5                     UNITED STATES DISTRICT C
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        7                            DISTRICT OF NEVADA
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        11 UNITED STATES OF'AMERICA,         )
                                             )
        12            Plaintiff,             )
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        13                                   )
               vs                            )      2 :ll-cr-310-JCM-RJJ
        14                                   )
             EDMUND SCHROBACK,               )
        15                                   )
                      Defendant,             )
        16                                   )
        17            ORDER REQUIRING PAYMRNT FOR APPOINTED COUNSEL
        18             Pursuant to the provisions of the Criminal Justice Act,
        19 18 U .S.C . 3006A , the Todd M . Leventhal: Esq . was appointed as
        20 counsel for the above-named defendant on October 3 , 2012 .
        21        Baaed upon a review of the defendant's financial affidavit
        22 and other relevant inquiry , the court now finds that the defendant
        23 possesses financial resources sufficient to bear some or a11 of
        24 the cost of his or her CJA representation r i.e ., funds are
        25 available from or on behalf of the defendant for payment of
        26 compensation and expenses of court-appointed eounsel and/or for
        27   other services necessary for adequate representation .                   Accord-

        28 ingly, pursuant to the provisicns of 18 U.S.C. 3006A (f),
                                                                                                        i
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1         IT Is ORDERED that the defendant shall reimburse the Treasury
2 of the United states for the cost of his representation at the
3 rate of $1000.00 per month, payable to the Clerk of the Court for
4    deposit in the Treasury, as follows : the defendant's first payment

5 shall be due on october 15 , 2012, and subsequent payments due on
6 the 15th day of each month thereafter until the case has been
7    concluded .   The total amount of reimbursement shall be determined

8 by the court at the        onclusion of this case .
9         Dated this e-lay of october, 2012.
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11
                                 UNITED          S MAGISTRATE JUDGE
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